LYVUULEIVEIL Vb te pou veraaicy aye +vidies FUAYCIl tr.

WAY LebhY UV YVYUYEIEUVIVIWIN

Case 1:19-cv 00578-JIMS€RT Document got? Filed 05/28/2€ Page 1of13 PagelD.798

HAWAII REVISED STATUTES

COMPRISING THE STATUTES
OF THE STATE OF HAWAII,
CONSOLIDATED, REVISED, AND ANNOTATED

VOLUME 3
2011 REPLACEMENT
(Including Acts of the 2011 Regular Session)

TITLES 10-12, CHAPTERS 121-200D

BECO NSTog, | oy
nu PCR ee Po yy
ips fed
ZS Re

w

iP

Soars es

PUBLISHED BY AUTHORITY

EXHIBIT “L”
we ay 1 Uy rr,
wn ea YO ov EE Wer RP CW WA eek puyrv eo VW

34
Case 1:19-cv-00578-JM¥RT Document 92°18 Filed o5/28/at Page 2 of 13 PagelD.799

134-1 PUBLIC SAFETY AND INTERNAL SECURITY

“Semiautomatic” means the mode of operation by which a firearm uses
the energy of the explosive in a fixed cartridge to extract a fired cartridge and
chamber a fresh cartridge with each single pul of a trigger. (L 1988, c 275, pt of
§2 and am c 271, §2; am L 1989, c 263, §§2, 3; am L 1990, c 195, §1; am L 1992, ¢
286, §1; am L 1994, c 204, §2; am L 2001, c 252, §2]

§134-2 Permits to acquire. (a) No person shall acquire the ownership of
a firearm, whether usable or unusable, serviceable or unserviceable, moderna or
antique, registered under prior Jaw or by a prior owner or unregistered, either by
purchase, gift, inheritance, bequest, or in any other manner, whether procured
in the State or imported by mail, express, freight, or otherwise, until the person
has first procured from the chief of police of the county of the person's place of
business or, if there is no place of business, the person's residence or, if there is
neither place of business nor residence, the person's place of sojourn, a permit
to acquire the ownership of a firearm as prescribed in this section. When title
to any firearm is acquired by inheritance or bequest, the foregoing permit shall
be obtained before taking possession of a firearm; provided that upon presenta-
tion of a copy of the death certificate of the owner making the bequest, any heir
or legatee may transfer the inherited or bequested firearm directly to a dealer
licensed under section 134-31 or licensed by the United States Department of
Justice without complying with the requirements of this section.

(b) The permit application form shall include the applicant's nume, ad-
dress, sex, height, weight, date of birth, place of birth, country of citizenship,
social security number, alien or admission number, and information Tegarding
the applicant's mental health history and shall require the fingerprinting and
photographing of the applicant by the police department of the county of regis-
tration; provided that where fingerprints and photograph are already on file with
the department, these may be waived,

(c) An applicant for a permit shall sign a waiver at the time of applica-
tion, allowing the chief of police of the county issuing the permit access to any
records that have a bearing on the mental health of the applicant. The permit
application form and the waiver form shall be prescribed by the attorney general
and shall be uniform throughout the State.

(d) The chief of police of the respective counties may issue permits to
acquire firearms to citizens of the United States of the age of twenty-one years
or more, or duly accredited official representatives of foreign nations, or duly
commissioned law enforcement officers of the State who are aliens; provided that
aay law enforcement officer who is the owner of a firearm and who is an alien
Shall transfer ownership of the firearm within forty-eight hours after termina-
tion of employment from a law enforcement agency. The chief bf police of each i
county may issue permits to aliens of the age of eighteen years or more for use of
rifles and shotguns for a period not exceeding sixty days, upon a showing that the
alien has first procured a hunting Jicense under chapter 183D, part II. The chief
of police of cach county may issue permits to aliens of the age of twenty-one
years or more for use of firearms for a period not exceeding six months, upon a
showing that the alien is in training for a specific organized sport-shooting con-
test to be held within the permit period. The attorney general shall adopt rules,
pursuant to chapter 91, as to what constitutes sufficient evidence that an alien
is in-training for a sport-shooting contest, Notwithstanding any provision of
the law to the contrary and upon joint application, the chief of police may issue
permits to acquire firearms jointly to spouses who otherwise qualify to obtain
permits under this section.

162

eee
WA OO es ow rT 1 Ue Uw eoreY puayrevviay bMmMYywin tie

347 _.
Case 1:19-cv-00578-JMS¥RT Document 92-13 Filed 05/28/2ff Page 3 of 13 PagelD.800

FIREARMS AND DANGEROUS WEAPONS 134-2

(ec) The permit application form shall be signed by the applicant and by
the issuing authority, One copy of the permit shall be retained by the issuing
authority as a permanent official record. Except for sales to dealers licensed
under section 134-3], or dealers licensed by the United States Department of
Justice, or law enforcement officers, or where a license is granted under section
134-9, or where any firearm is registered pursuant to section 134-3(a), no permit
shall be issued to an applicant earlier than fourteen calendar days after the date of
the application; provided that a permit shall be issued or the application denied
before the twentieth day from the date of application. Permits issucd to acquire
any pistol or revolver shall be void unless used within ten days after the date of
issue, Permits to acquice a pistol or revolver shall require a separate application
and permit for each transaction. Permits issued to acquire any rifle or shotgun
shail entitle the permittee to make subsequent purchases of rifles or shotguns for
a period of one year from the date of issue without a separate application and
permit for cach acquisition, subject to the disqualifications under section 134-7
and subject to revocation under section 134-13; provided that if a permittee is
arrested for committing a felony or any crime of violence or for the illegal sale
of any drug, the permit shall be impounded and shall be surrendered to the
issuing authority. The issuing authority shall perform an inquiry on an applicant
who is a citizen of the United States by using the National Instant Criminal
Background Check System before any determination to issue a permit or to deny
an application is made. If the applicant is not a citizen of the United States and
may be eligible to acquire a firearm under this chapter, the issuing authority shall
perform an inquiry on the applicant, by using the National Instant Criminal
Background Check System, to include a check of the Immigration and Customs
Enforcement databases, before any determination to issue a permit or to deny an
application is made,

(f) In all cases where a pistol or revolver is acquired from another person
within the State, the permit shall be signed in ink by the person to whom title
to the pistol or revolver is transferred and shall be delivered to the person who
is transferring title to the firearm, who shall verify that the person to whom the
firearm is to be transferred is the person named in the permit and enter on the
permit in the space provided the following information: name of the person to
whom the title to the firearm was transferred; names of the manufacturer and
importer; model; type of action; caliber or gauge; and serial number as appli-
cable. The person who is transferring title to the firearm shall sign the permit in
ink and cause the permit to be delivered or sent by registered mail to the issuing
authority within forty-eight hours after transferring the firearm.

In all cases where receipt of a firearm is had by mail, express, freight, or
otherwise from sources without the State, the person to whom the permit has
been issued shall make the prescribed entries on the permit, sign the permit in
ink, and cause the permit to be delivered or sent by registered mail to the issuing
authority within forty-eight hours after taking possession of the firearm.

Tn all cases where a rifle or shotgun is acquired from another person within
the State, the person who is transferring title to the rifle or shotgun shall submit,
within forty-eight hours after transferring the firearm, to the authority which
issued the permit to acquire, the following information, in writing: name of the
person who transferred the firearm, name of the person to whom the title to the
firearm was transferred; names of the manufacturer and importer;:model; type
of action; caliber or gauge; and serial number as applicable.

(g) Effective July 1, 1995, no person shall be issued a permit under this
section for the acquisition of a pistol or revolver unless the person, at any time
prior to the issuance of the permit, has completed:

163

UV USE VIVEWIN LYVUULIIVEE UL aw Prue vur2aciay ou TMI Av Yy .
WUYDIY 4b x if i yo rAYyCIL Tr

: SAB PagelD.801
Case 1:19-cv-00578-JM9~RT Document 92°18 Filed 05/28/af Page 4 of 13 Pag

134-2 PUBLIC SAFETY AND INTERNAL SECURITY

183D-28;

(2) A firearms safety or training course or class available to the general |
public offered by a law enforcement agency of the State or of any |
county;

(3) A firearms safety or training course offered to law enforcement officers,
security guards, investigators, deputy sheriffs, or any division or subdivi-
sion of law enforcement or secuti ty enforcement by a state or county law
enforcement agency; or

(4) A firearms training or safety course or class conducted by a state certi-
fied or National Rifle Association certified firearms instructor or a cer-
tified military firearms instructor that provides, at a minimum, a total
of at least two hours of firing training at a firing range and a total of at
least four hours of classroom instruction, which may include a video,
that focuses on:

(A) The safe use, handling, and storage of firearms and firearm safety

in the home; and

(B) Education on the firearm laws of the State.

An affidavit signed by the certified firearms instructor who conducted
or taught the course, providing the name, address, and phone num-
ber of the instructor and attesting to the successful completion of the
course by the applicant shall constitute evidence of certified successful
completion under this paragraph.

(h) No person shall sell, give, lend, or deliver into the possession of an-
other any firearm except in accordance with this chapter.

(i) No fee shall be charged for permits, or applications for permits, under
this section, except for a single fee chargeable by and payable to the issuing county,
for individuals applying for their first permit, in an amount equal to the fee actu-
ally chatged by the Federal Bureau of Investigation to the issuing police depart-
ment for a fingerprint check in connection with that application or permit. In
the case of a joint application, the fee provided for in this section may be charged
to each person to whom no previous permit bas been issued. [L 1988, c 275, pt
of §2; am L 1992, c 287, §2; am L 1994, c 204, §3; am L 1995,c 11, §1; am L 1996,
¢ 200, §§2, 3; am L 1997, c 53, §2 and c 278, §1; am L 2006, c 27, §1; am L 2007,
c 9, §6)

(1) An approved hunter education course as authorized under section |

{§134-2.5 Permits for motion picture films or television program pro-
duction.) (a) Upona finding that public safety is not endangered, the chief of
police of the appropriate county may issue permits, initially valid for a period of

, one year and renewable annually thereafter, for the Possession, transportation,
or use, with blank cartridges, of firearms or explosives solely as props for motion
picture films or television Program production upon a showing that good cause
exists for the issuance of a permit to the applicant and upon sufficient proof of
a federal firearms license and a state film permit required under section 201-3.
No permit shall be issued to a person who is under twenty years of age or who is
disqualified under section 134-7,

164

eg
rFAYUCILY Tr.
WAI Leb VV VUE U VIVID ING LYVUUEDIVIIL VL be Ww vurLaiayv 4 aye ww VI iW Y

Case 1:19-cv-00578-JMSERT Document got? Filed 05/28/24 Page 5 of 13 PagelD.802

FIREARMS AND DANGEROUS WEAPONS 134-3

applicant. Applications and permits shall be uniform throughout the State on
forms prescribed by the attorney general. ’

(c) The attorney general shall establish rules pursuant to chapter 91 con-
-cerning security requirements for storing and transporting firearms or explosives
for which permits are issued. Permits shall be issued only upon a showing of the
applicant’s ability to meet these security requirements.

(d) A fee of $50 should be charged for each permit issued under this
section. 1

(ec) Every applicant to whom a permit is issued shall keep it on the appli-
cant’s person or at the place where the firearms or explosives are stored. The
permit, firearms and explosives, shall be available for inspection by any law
enforcement officer or any other person designated by the respective chief of
police.

(f) Every firearm or explosive for which a permit is issued shall bear a
unique identifying number. If the firearm or explosive does not bear a unique
identifying number, the chief of police of the appropriate county shall assign a
number that shall be stamped or placed thereon.

(g) The chief of police of the respective county shall revoke permits issued
under this section any time it appears that the holder of the permit has used the
firearms or explosives for purposes other than those allowed by the permit or that
the holder of the permit has not exercised great care in retaining custody of any
firearms or explosive possessed under the permit. (L 1988, ¢ 272, §3}

§134-3 Registration, mandatory, exceptions. (a) Every person arriving in
the State who brings or by any other manner causes to be brought into the State
a firearm of any description, whether usable or unusable, serviceable or unser-
viceable, modern or antique, shall register the firearm within three days after
arrival of the person or of the firearm, whichever arrives later, with the chief of
police of the county of the person's place of business or, if there is no place of

. business, the person's residence or, if there is neither a piace of business nor resi-
dence, the person's place of sojourn. A nonresident alien may bring firearms not
otherwise prohibited by law into the State for a continuous period not to exceed
ninety days; provided that the person meets the registration requirement of this
section and the person possesses:

(1) A valid Hawaii hunting license procured under chapter 183D, part II,
or a commercial or private shooting preserve permit issued pursuant
to section 183D-34; |

(2) A written document indicating the person has been invited to the State
to shoot on private land; or

(3) Written notification from a firing range or target shooting business
indicating that the person will actually engage in target shooting.

The nonresident alien shall be limited to a nontransferable registration of not
more than ten firearms for the purpose of the above activities.

(b) Every person who acquires a firearm pursuant to section 134-2 shall
register the firearm in the manner prescribed by this section within five days of
acquisition. The registration shall be on forms prescribed by the attorney general,
which shall be uniform throughout the State, and shall include the following
information: name of the manufacturer and importer; model; type of action:
caliber or gauge; serial number; and source from which receipt was obtained,
including the name and address of the prior registrant, If the firearm has no
senal number, the permit number shall be entered in the Space provided for the
serial number, and the permit number shall be engraved upon the receiver portion

165

Sa ee ea EE
ww bey vv wu viviw UNF RSI Wk UU Ve tery euyre vviay 1 uUyrviL Tr.

3
Case 1:19-cv-00578-JMQRT Document goorP Filed 05/28/af Page 6 of 13 PagelD.803

’

134-3 PUBLIC SAFETY AND INTERNAL SECURITY

of the firearm prior to registration. All registration data that would identify the
individual registering the firearm by name or address shall be confidential and

shall not be disclosed to anyone, except as may be required for processing the |
registration or as may be required by a law. enforcement agency for the lawful |
performance of its duties or as may be required by order of a court.

(c) Dealers licensed under section 134-3] or dealers licensed by the United
States Department of Justice shall register firearms pursuant to this section on
registration forms prescribed by the attorney general and shall not be required
to have the firearms physically inspected by the chief of police at the time of
registration.

(d) Registration shall not be required for:

(1) Any device that is designed to fire loose black powder or that is a fire-

arm manufactured before 1899;

(2) Any device not designed to fire or made incapable of being readily

restored to a firing condition; or

(3) All unserviceable firearms and destructive devices registered with the

Bureau of Alcohol, Tobacco, and Firearms of the United States
Department of Justice pursuant to Title 27, Code of Federal Regu-
lations.

(e) No fee shall be charged for the registration. [L 1988, c 275, pt of §2;
am L 1994, c 204, §4; am L 1999, c 217, §2; am L 2007, c 9, §7}

[§134-3.5] Disclosure for firearm permit and registration purposes. A.
health care provider or public health authority shall disclose health information,
including protected health care information, relating to an individual's mental
health history, to the appropriate county chief of police in response to a request
for the information from the chicf of police; provided that:

(1) The information shall be used only for the purpose of evaluating the

individual's fitness to acquire or own a firearm; and |

(2) The individual has signed a waiver permitting release of the health

information for that purpose. [L 2001, c 252, §1)

§134-4 Transfer, possession of firearms. (a) No transfer of any rifle
having a barrel length of sixteen inches or over or any shotgun having a barrel
length of eighteen inches or over, whether usable or unusable, serviceable or un-
serviceable, modern or antique, registered under prior law or by a prior owner, or
unregistered shall be made to any person under the age of eighteen years, except
as provided by section 134-5.

(b) No person shall possess any firearm that is owned by another, regard-
less of whether the owner has consented to possession of the firearm, without a
permit from the chief of police of the appropriate county, except as provided in
subsection (c) and section 134-5.

(c) Any lawfully acquired rifle or shotgun may be lent to an adult for use
within the State for a period not to exceed fifteen days without a permit; pro-

~* vided that where the rifle or shotgun is to be used outside of the State, the loan
may be for a period not to exceed seventy-five days,

(d) No person shall knowingly lend a firearm to any person who is pro-
hibited from ownership or possession of a firearm under section 134-7.

(e) After July 1, 1992, no person shall bring or cause to be brought into
the State an assault pistol. No assault pistol may be sold or transferred on or
after July 1, 1992, to anyone within the State other than to a dealer licensed
under section 134-32 or the chief of police of any county except that any person

166

- cr vuilso TAaAYyCIL #H.
WAIT LLITVIVYUIYIUTVIVIOTAN I VVUUULIHGHL UL" Lo TnGCU VOPLEZIZyU ray UY

3 ID.804
Case 1:19-cv-00578-JMSERT Document gash Filed 05/28/2f Page 7 of 13 Page

FIREARMS AND DANGEROUS WEAPONS 134-7

who obtains title by bequest or intestate succession to an assault pistol registered
within the State shall, within ninety days, render the weapon permanently in-
operable, sell or transfer the weapon to a licensed dealer or the chief of police
of any county, or remove the weapon from the State, [L 1988, c 275, pt of §2; am
L 1992, c 286, §2]

Case Notes

Where defendant’s conviction and sentence under §708-840 was an included offense under §134-
Sa) aod defendant's convictions under both §708-840 and subsection (a) violated §701-109(1)(a),
defendant's conviction and sentence under §708-840 reversed. 91 H. 33, 979 P2d 1059,

§134-5 Possession by licensed hunters and munors; target shooting; game
hunting. (a) Any person of the age of sixteen years, Or over or any person un-
der the age of sixteen years while accompanied by an adult, may carry and use
any lawfully acquired rifle or shotgun and suitable ammunition while actually
engaged in hunting or target shooting or while going to and from the place of
hunting or target shooting; provided that the person has procured a hunting
license under chapter 183D, part II. A bunting license shall not be Tequired for
persons engaged in target shooting.

(b) A permit shall not be required when any lawfully acquired firearm is
lent to a person, including a minor, upon a target range or similar facility for
purposes of target shooting; provided that the period of the loan does not ex-
ceed the time in which the person actually engages in target shooting upon the
premises,

(c) A person may carry unconcealed and use a lawfully acquired pistol
or revolver while actually engaged in hunting game mammals, if that pistol or
revolver and its suitable ammunition are acceptable for hunting by rules adopted
pursuant to section 183D-3 and if that person is licensed pursuant to part II of
chapter 183D. The pistol or revolver may be transported in an enclosed con-
tainer, as defined in section 134-25 in the course of going to and from the place
of the hunt, notwithstanding section 134-26. [L 1988, ¢ 275, pt of §2;am L 1997,
© 254, §§1, 4; am L 2000, c 96, §1; am L 2002, c 79, §1; am L 2006, c 66, §2]

Case Notes

As questi of whether defend: possessed a hunting license under this section posed a fact
eculiarly within defendant's knowledge, and Jack of a hunting license is not a material element of
fae, Prosecution was not required to prove that defendant did aot have a hunting license pursuant {
to this section. 93 H. 87, 997 P2d 13,

§134-6 REPEALED. L 2006, c 66, §6.

§134-7 Ownership or possession prohibited, when; penalty. (a) No person
who is a fugitive from justice or is a person probubited from possessing firearms
or ammunition under federal law shall Own, possess, or control any firearm or
ammunition therefor,

(b) No person who is under indictment for, or has waived indictment for,
or has been bound over to the circuit court for, or has been convicted in this
State or elsewhere of having committed a felony, or any crime of violence, or an
illegal sale of any drug shall own, possess, or control any firearm or ammunition
therefor.

(c) No person who: ,

(1) Is or has been under treatment or counseling for addiction to, abuse

of, or dependence upon any dangerous, harmful, or detrimental drug,

167

a eee ener

wv v wwe tw wivEns IN ke Ik 4 Vu Vu te Pumuye vw aw pouMyeie rr.
wi aoe v v . u rr iow Yy

3
Case 1:19-cv-00578-JMSERT Document go°Pf Filed 05/28/at- Page 8 of 13 PagelD.805

134-7 PUBLIC SAFETY AND INTERNAL SECURITY

intoxicating compound as defined in section 712-1240, or intoxicating
liquor;

(2) Has been acquitted of a crime on the grounds of mental disease, dis-

order, or defect pursuant to section 704-41 1; or

(3) Is or has been diagnosed as having a significant behavioral, emotional,

or mental disorders as defined by the most current diagnostic manual
of the American Psychiatric Association or for treatment for organic
brain syndromes;
shall own, possess, or control any firearm or ammunition therefor, unless the
person has been medically documented to be no longer adversely affected by the
addiction, abuse, dependence, mental disease, disorder, or defect.

(d) No person who is less than twenty-five years old and has been adju-
dicated by the family court to have committed a felony, two or more crimes of
violence, or an illegal sale of any drug shall own, possess or control any firearm
or ammunition therefor.

(e) No minor who:

(1) Is or has been under treatment for addiction to any dangerous, harm-

ful, or detrimental drug, intoxicating compound as defined in section
712-1240, or intoxicating liquor;
(2) Isa fugitive from justice; or
(3) Has been determined not to have been responsible for a criminal act
or has been committed to any institution on account of a mental dis-
ease, disorder, or defect;
shall own, possess, or control any firearm or ammunition therefor, unless the
minor has been medically documented to be no longer adversely affected by the
addiction, mental disease, disorder, or defect.

For the purposes of enforcing this section, and notwithstanding section
571-84 or any other law to the contrary, any agency within the State shall make
its records relating to family court adjudications available to law enforcement
officials.

(f) No person who has been restrained pursuant to an order of any court,
including an ex parte order as provided in this subsection, from contacting,
threatening, or physically abusing any person, shall possess, control, or trans-
fer ownership of any firearm or ammunition thercfor, so long as the protective
order, restraining order, or any extension is in effect, unless the order, for good
cause shown, specifically permits the possession of a firearm and ammunition.
‘The restraining order or order of protection shall specifically include a statement
that possession, control, or transfer of ownership of a firearm or ammunition
by the person named in the order is prohibited. Such person shall relinquish
possession and control of any firearm and ammunition owned by that person to
the police department of the appropriate county for safekeeping for the duration
of the order or extension thereof. In the case of an ex parte order, the affidavit
or statement under oath that forms the basis for the order shall contain a state-
ment of the facts that support a finding that the person to be restrained owns,
intends to obtain or to transfer ownership of, or possesses a firearm, and that
the firearm may be used to threaten, injure, or abuse any person. The ex parte
order shall be effective upon service pursuant to section 586-6. At the time of
service of a restraining order involving firearms and ammunition issued by any
court, the police officer may take sustody of any and all firearms and ammuni-
tion in plain sight, those discovered pursuant to a consensual search, and those
firearms surrendered by the person restrained. If the person restrained is the
registered owner of a firearm and knows the location of the firearm, but refuses

168
rays vv. TaAYCILY rr.

- Leiav
WUD LeRGUVOUYUYIUTVIVIVITENT MUGCULIIGIIN ULL Pimuu vu

3 i ID.806
Case 1:19-cv-00578-JMSERT Document 92°72 Filed 05/28/2ff- Page 9 of 13 Page

FIREARMS AND DANGEROUS WEAPONS 134-7

to surrender the firearm or refuses to disclose the location of the firearm, the

person restrained shall be guilty of a misdemeanor, In any case, when a police
officer is unable to locate the firearms and ammunition either registered under
this chapter or known to the person granted protection by the court, the police

officer shall apply to the court for a sea
the limited purpose of seizing the firear

rch warrant pursuant to chapter 803 for
m and ammunition.

For the purposes of this subsection, good cause shall not be based solely
upon the consideration that the person subject to restraint pursuant to an order
of any court, including an ex parte order as provided for in this subsection, is
required to possess or carry firearms or ammunition during the course of the
person’s employment. Good cause consideration may include but not be limited
to the protection and safety of the person to whom a restraining order is granted.

(g) Any person disqualified from ownership, possession, control, or the
right to transfer ownership of firearms and ammunition under this section shall
surrender or dispose of all firearms and ammunition in compliance with section

134-7,3.

(h) Any person violating subsection (a) or (b) shall be guilty of a class C
felony; provided that any felon violating subsection (b) shall be guilty of a class
B felony. Any person violating subsection (c), (d), (e), (, or (g) shall be guilty of
a misdemeanor. [L 1988, c 275, pt of §2; am L 1990, c 191, §1;am L 1993,c 215,
§1, am L 1994, c 204, §§6, 7; am L 1995, c 189, §§2, 26; am L 1998, c 133, §5; am
L 1999, c 297, §1; am L 2000, c 127, §2; am L 2004, c 4, §1; am L 2006, c 27, §2}

Law Journals and Reviews

Empowering Battered Women: Changes in Domestic Violence Laws in Hawai'i, 17 UH L. Rev. 575

Case Notes

Felon convicted of possessing frearm properly
sentenced under this section instead of §706-610.
68 H. 622, 725 P.2d 799.

Defendant exercised control when defendant
sold gun. 70 H. 219, 768 P.2d 230,

Previously convicted felon must have inten-
tionally, knowingly, or recklessly possessed or
controlled the firearm. 70 H. 509, 778 P.2d 704.

Defendant may not assert the invalidity of the
Prior conviction as a defense under this section.
71H. 101, 784 P.2d 872.

Convicted person may not assert the invalidity
of the prior offense as a defense to this section.
71H. 111, 784 P.2d 873.

Subsection (b) applies to felons who are con-
victed through a nolo contendere plea. 83 H.
507, 928 P.2d 1.

Where defendant's convictions were premised
upon the use of “any firearm” and language
of indictments and trial court’s instructions
“to wit, a semiautomatic pistol” did not alter
the statutory clements of §§708-840, 134-6, or
this section, trial court’s error of not providing
definition of “semiautomatic firearm’ did not
warrant reversal of convictions of first degree
robbery, carrying or use of firearm in commis-
sion of separate felony, or felon in possession of
firearm. 91 H. 33, 979 B2d 1059.

For the purposes of subsection (b), “posses-
sion” must be analyzed using a two-pronged
analysis: (1) the voluntary act of “possession”
of an object “itself” is, by way of §702-202, sat-
isfied where an individual acts knowingly with

respect to his or her conduct; and (2) the requi-
site state of mind with respect to the attendant
circumstances—i.e., the particular qualities of
the object that make it illegal to possess it—is,
by way of §702-204, satisfied by a reckless state
of mind. 93 H. 87, 997 P.2d 13.

Where one bag containing a gun was found
on truck seat next to defendant and another bag
with two guns was found on truck floor where
defendant had been sitting, jury could have in-
ferred from totality of circumstances that defen-
dant had the state of mind requisite to commit
possession of a firearm and/or ammunition by
a person convicted of certain crimes. 93 H. 87,
997 P.2d 13.

A Person commits the offense of attempted
prohibited possession of a firearm, pursuant to
§705-500(1}(b) and (3), and subsection (b), if he
or she intentionally engages in conduct that, un-
der the circumstances as he or she believes them
to be, constitutes a substantial step in a course
of conduct intended to culminate in his or her
commission of the offense of prohibited posses-
sion of a firearm. 93 H. 199, 998 P2d 479,

As the offense of attempted prohibited pos-
session of a firearm under this section does not
include a result-of-conduct element and §705-
500(2) does not therefore apply, trial court in-
struction erroneously defined the state of mind
necessary to prove the offense of attempted pro-
hibited possession of a firearm as something less
than intentional, as required by §705-500(1)(b).
93H. 199, 998 P2d 479,

169

WUYVY bray vv VY “viv ra

4.
Case 1:19-cv-00578-JMS(RT Document 92-83 Filed 05/28/2f Page 10 of 13 PagelD.807

wWwWVUPIVItl ve 1 Ce Ur ee PmMywe ty vi~eaw

134-7 PUBLIC SAFETY AND INTERNAL SECURITY

Pursuant to §§701-109(4)(b), 705-500(1)(b)
and (3), and subsection (b), attempted prohibited
possession of a firearm is an included offense of

rohibited possession of a firearm. 93 H. 199, 998
2d 479.

Where defendant failed to carry defendant's
burden of establishing that defendant's conduct
——of possessing ammunition in violation of sub-
section (b), a class B felony involving conduct
that had the potential for serious public safety
consequences—was de minjmis within the mean-
ing of §702-236, appellate court’s dismissal of trial
court's granting Uf motion to dismiss charges as
a de minimis infraction under §702-236 affirmed.
123 H. 329, 235 P.3d 325.

Requisite state of mind for a violation of
subsection (b) is that of acting intentionally,
knowingly, or recklessly; failure to instruct jury
on state of mind clement, as required by §701-
114(1)(b), was prejudicial and not harmless er-
ror. 78 H. 422 (App,), 895 P.2d 173.

Where State failed to establish defendant's
prior felony conviction and no lesser included
offense of a felon in possession of a firearm or
ammunition in chapter 134, defendant's convic-
tions of being a felon in possession of a firearm
and firearm ammunition under subsection (b)
reversed. 82 H. 547 (App). 923 Pd 934.

Under subsection (b), multiple punishments
are not authorized for violating the prohibition
against possession of “any firearm or ammuni-
tion therefor"; thus, where defendant was already
convicted of possessing a firearm, defendant
could not be convicted for possession of ammu-
nition loaded into that firearm. 89 H. 59 (App),
968 P.2d 1070.

Although evidence that defendant had previ-
ously been convicted of a felony was reievant for
purposes of this section, evidence that defendant

may have received ineffective assistance of counsel
during that prior felony trial would not have any
bearing on the validity of that felony convie-
tion; thus, trial court did sot err in precludin
evidence that defendant may have received inef-
fective assistance during prior trial. 99 H. 489
(App.}, 979 P.2d 85.

Unless expressly permitted by the court, sub-
section (f) unqualifiedly prohibits a person sub-
ject to a chapter 586 order from possession and
control of a firearm during the pendency of that
order; this prohibition is ¢ffective irrespective of
whether the respondent owned the firearms in-
volved. 91 H. 438 (App.), 984 P.2d 1264.

Trial court erred in sentencing defendant to ten
years of incarceration with a mandatory mini-
mum term of ten years under §706-660.1(3)(c) as
convicting defendant of being a felon in posses-

sion of a firearm pursuant to subsection (b) and
sentencing defendant to a mandatory minimum
term of imprisonment pursuant to §706-660. 1(3)(c)
essentially punished defendant twice for a single
possession of a firearm; a rational interpretation
of §706-660.1 is that the legislature did not intend
its application for felonies where the entirety of
the felonious conduct is the use or possession of a
firearm. 107 H. 273 (App), 112 P3d 759.

Tn a prosecution of a felon under subsection
(b) for possession of firearm ammunition, the
State must prove, whether by direct or circum-
stantial evidence, that the ammunition was “ac-
tually loaded”; given detective’s authoritative
identification of the bullets as ammunition, and
in the absence of evidence that the ammunition
was not Joaded or otherwise incapable of being
fired, was substantial evidence that the ammuni-
tion was actually loaded. 108 H. 124 (App.), 117
P.3d B56.

Mentioned! 9 H. App. 333, 839 P.2d 1186.

{§134-7.2] Prohibition against seizure of firearms or ammunition during
emergency or disaster; suspension of permit or license. (a) Notwithstanding any

provision of chapter 128 or any other law to the contrary, no person or govern-
ment entity shall seize or confiscate, under any civil defense, emergency, or disas-
ter relief powers or functions conferred, or during any civil defense emergency
period, as defined in section 128-2, or during any time of national emergency or
crisis, as defined in section 134-34, any firearm or ammunition from any indi-
vidual who is lawfully permitted to carry or possess the firearm or ammunition
under part I of this chapter and who carries, possesses, or uses the firearm or
ammunition in a lawful manner and in accordance with the criminal laws of this
State.

(b) Notwithstanding any provision of chapter 128 or any other law to the
contrary, no person or government entity shall suspend, revoke, or limit, under
any civil defense, emergency, or disaster relief powers or functions conferred,
any lawfully acquired and maintained permit or license obtained under and in
accordance with part I of this chapter.

(c) For purposes of this section, “government entity” means any unit of
government in this State, including the State and any county or combination of
counties, department, agency, institution, board, commission, district, council,
bureau, office, governing authority, or other instrumentality of state or county
government, or corporation or other establishment owned, operated, or man-
aged by or on behalf of this State or any county. [L 2010, c 96, §1}

170

t Uyrin Tre
i uUyrily We
aye 2s wvi aw
RVI PIL Wok 6 oI Ur eo Y

wuss beady vv vYUYViIY viviw ive

Pj PagelD.808
- 28/2f Page 11 of 13 g
Case 1:19-cv-00578-JMS{RT Document 92 $° Filed 05/ { Pag

FIREARMS AND DANGEROUS WEAPONS 134-7.5

§134-7.3 Seizure of firearms upon disqualification. (a) If any applicant
is denied a permit, the chiefs of police of the respective counties Shall send, by
certified mail, a notice setting forth the reasons for the denial and may require

quirements of section 134-2.

(d) The chief of police of the respective counties shall adopt procedures
to implement and administer the provisions of this section by December 31,
200). [L 2000, c 127, §1:am L 2004, c 4, §2]

1§134-7.5) Seizure of firearms in domestic abuse situations; requirements;
return of. (a) Any police officer who has reasonable grounds to believe that
a person has recently assaulted or threatened to assault a family or household
member may seize all firearms and ammunition that the police officer has Tea-
sonable grounds to believe were used or threatened to be used in the commission

(b) Upon taking Possession of a firearm or ammunition, the officer shall
give the owner or person who was in lawful possession of the firearm or ammu-
nition a receipt identifying the firearm or ammunition and indicating where the

to apply for a domestic abuse restraining order.

(d) The firearm or ammunition shall be made available to the owner or
person who was in lawful possession of the firearm or ammunition within seven
working days after the seizure when:

1) The firearm or ammunition are not retained for use as evidence;

(2) The firearm or ammunition are not retained because they are pos-

sessed illegally:

(3) The owner or Person who has lawful possession of the firearm or am-

munition is not restrained by an order of any court from possessing a
firearm or ammunition; and

171
1 kw 5 CAWYL ELLY TT.
Wy aot vv YvYUVEY Yitiw TV RVI Paw VE eoeYy PMY 44a 4 Y

: 6.
Case 1:19-cv-00578-JMSRT Document 92-43 Filed 05/28/2f Page 12 of 13 PagelD.809

134-7.5 PUBLIC SAFETY AND INTERNAL SECURITY

(4) Nocriminal charges are pending against the owner or person who has
lawful possession of the firearm or ammunition when a restraining
order has already issued. [L 1996, c 201, §1)

§134-8 Ownership, etc., of automatic firearms, silencers, etc., prohibited;
penalties. (a) The manufacture, possession, sale, barter, trade, gift, transfer, or
acquisition of any of the following is prohibited: assault pistols, except as pro-
vided by section 134-4(e); automatic firearms; rifles with barrel lengths less than
sixteen inches; shotguns with barrel lengths less than eighteen inches; cannons;
mufflers, silencers, or devices for deadening or mufiling the sound of discharged
firearms; hand grenades, dynamite, blasting caps, bombs, or bombshells, or other
explosives; or any type of ammunition or any projectile component thereof
coated with tefion or any other similar coating designed primarily to enhance
its capability to penetrate metal or pierce protective armor, and any type of am-
munition or any projectile component thereof designed or intended to explode
or segment upon impact with its target.

(b) Any person who installs, removes, or alters a firearm part with the
intent to convert the firearm to an automatic firearm shall be deemed to have
manufactured an automatic firearm in violation of subsection (a).

(c) The manufacture, possession, sale, barter, trade, gift, transfer, or acquisi-
tion of detachable ammunition magazines with a capacity in excess of ten rounds
which are designed for or capable of use with a pistol is prohibited. This subsection
shall not apply to magazines originally designed to accept more than ten rounds of
ammunition which bave been modified to accept no more than ten rounds and which
are not capable of being readily restored to a capacity of more than ten rounds.

(d) Any person violating subsection (a) or (b) shall be guilty of a class C
felony and shall be imprisoned for a term of five years without probation. Any
person violating subsection (c) shall be guilty of a misdemeanor except when a
detachable magazine prohibited under this section is possessed while inserted
into a pistol in which case the person shall be guilty of a class C felony. [L 1988,
¢ 275, pt of §2; am L 1989, c 261, §6 and c 263, §4; am L 1992, c 286, §§3, 4]

Case Notes

4 defendant

Trial court is dated to seat
of the sentence, 69 H. 458, 746 P.2d 976.
Section not unconstitutionally vague or overbroad on Its face or as applied to defendant for “pos-
session of a bomb”. 87 H. 71, 951 P2d 934.

to a term of imprisonment without any suspension

§134-9 Licenses to carry. (a) In an exceptional case, when an applicant
shows reason to fear injury to the applicant’s person or property, the chief of
police of the appropriate county may grant a license to an applicant who is a
citizen of the United States of the age of twenty-one years or more or to a duly
accredited official representative of a foreign nation of the age of twenty-one
years Or more to carry a pistol or revolver and ammunition therefor concealed
on the person within the county where the license is granted. Where the urgency
or the need has been sufficiently indicated, the respective chief of police may
grant to an applicant of good moral character who is a citizen of the United
States of the age of twenty-one years or more, is engaged in the protection of
life and property, and is not prohibited under section 134-7 from the ownership
or possession of a firearm, a license to carry a pistol or revolver and ammuni-
tion therefor unconcealed on the person within the county where the license is
granted, The chief of police of the appropriate county, or the chief's designated

172

(CSS EE RTI
WwAOD LLINVVTUYIIUTVYIVEIVTIN I LAVUULIIUHIL UVLO bo rncu vorraizcy rayo av VI Lv ray tt.

Case 1:19-cv-00578-JMSRT Document 92-73! Filed 05/28/2¥ Page 13 of 13 PagelD.810

FIREARMS AND DANGEROUS WEAPONS 134-10.5

representative, shall perform an inquiry on an applicant by using the National
Instant Criminal Background Check System, to include a check of the Immigra-
tion and Customs Enforcement databases where the applicant is not a citizen of
the United States, before any determination to grant a license is made, Unless
renewed, the license shall expire one year from the date of issue.

(b) The chief of police of each county shall adopt procedures to require
that any person granted a license to carry a concealed weapon on the person
shall:

(1) Be qualified to use the firearm in a safe manner,

(2) Appear to be a suitable person to be so licensed;

(3) Not be prohibited under section 134-7 from the ownership or posses-

sion of a firearm; and

(4) Not have been adjudged insane or not appear to be mentally deranged,

(c) No person shall carry concealed or unconcealed on the persona pistol
or revolver without being licensed to do so under this section or in compliance
with sections 134-5(c) or 134-25,

(d) A fee of $10 shall be charged for each license and shall be deposited in
the treasury of the county in which the license is granted. (L 1988, ¢ 275, pt of §2;
am L 1994, c 204, §8; am L 1997, c 254, §§2, 4; am L-2000, c 96, §1; am L 2002, c
79, §1; ama L 2006, c 27, §3 and c 66, §3; am L 2007, c 9, §8)

Case Notes

Where plaintiff asserted that §§134-6 and 134-9 violated rights guaranteed by Article I and the
Second, Fifth, Ninth, and Fourteenth Amendments of the USS. Constitution, defendants’ motions
to dismiss plaintiff's complaint granted; among other things, plaintiff did not have standing to chal-
lenge this chapter on the basis of an alleged deprivation of Second Amendment or Ninth Amend-
meat rights, this chapter is not an impermissible bill of attainder with respect to plaintiff, and this
chapter imposes no impairment of a contractual right possessed by plaintiff. 548 F. Supp, 2d 1151.

Mentioned: 74 H. 197, 840 P2d 374.

§134-10 Alteration of identification marks prohibited. No person shall
wilfully alter, remove, or obliterate the name of the make, model, manufacturer’s
number, or other mark of identity of any fireacm or ammunition. Possession
of a firearm or ammunition upon which any mark of identity has becn altered,
removed, or obliterated shall be presumptive evidence thal the possessor has
altered, removed, or obliterated the mark of identily. [L 1988, c 275, pt of §2]

[§134-10.5] Storage of firearm; responsibility with respect to minors. No
‘ person shall store or keep any firearm on any premises under the person’s control
if the person knows or reasonably should know that a minor is likely to gain
access to the firearm without the permission of the parent or guardian of the
minor, unless the person:
(1) Keeps the firearm in a securely Jocked box or other container or ina
location that a reasonable person would believe to be secure; or
(2) Carries the firearm on the person or within such close proximity
thereto that the person readily can retrieve and use it as if it were
carried on the person.
For purposes of this section, “minor” means any person under the age of sixteen
years. [L 1992, c 288, §1]
1
Cross References

Criminally negligent storage of firearm, see §707-714.5.
173 '

SEDO Te ST TS PA REET)
